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 2   Nevada State Bar No. 11479
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 3   Assistant Federal Public Defender
     Nevada State Bar No. 14591
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 6   Ben_Nemec@fd.org

 7   Attorney for Christopher Biggers

 8
                                 UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                             Case No. 2:21-mj-00774-EJY

12                  Plaintiff,                             STIPULATION TO CONTINUE
                                                           PRELIMINARY HEARING
13          v.
                                                           (Fourth Request)
14   CHRISTOPHER BIGGERS,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Bianca R Pucci, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Benjamin F. J. Nemec, Assistant Federal Public Defender, counsel for Christopher Biggers, that
21   the Preliminary Hearing currently scheduled on March 7, 2022, be vacated and continued to a
22   date and time convenient to the Court, but no sooner than sixty (60) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Parties expect a pre-indictment resolution and need additional time to finalize.
25          2.      Defendant is incarcerated and does not object to a continuance
26          3.      Parties agree to the continuance.
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 1          4.      Additionally, denial of this request for continuance could result in a
 2   miscarriage of justice.
 3          5.      The additional time requested by this stipulation is excludable in computing
 4   the time within which the defendant must be indicted, and the trial herein must commence
 5   pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161(b) and 3161(h)(7)(A), considering the
 6   factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
 7          This is the fourth request for continuance filed herein.
 8          DATED this 3rd day of February 2022.
 9
10    RENE L. VALLADARES                              CHRISTOPHER CHIOU
      Federal Public Defender                         Acting United States Attorney
11
12    By /s/ Benjamin F. J. Nemec                     By /s/ Bianca R. Pucci
      BENJAMIN F. J. NEMEC                            BIANCA R. PUCCI
13    Assistant Federal Public Defender               Assistant United States Attorney
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 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                              Case No. 2:21-mj-00774-EJY
 4
                    Plaintiff,                              ORDER
 5
            v.
 6
     CHRISTOPHER BIGGERS,
 7
                    Defendant.
 8
 9
10          Based    on     the    Stipulation   of    counsel   and   good   cause   appearing,

11   IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on March

12   7, 2022 at the hour of 4:00 p.m., be vacated and continued to May 6, 2022 at the hour of

13   4:00 p.m., in Courtroom 3C.

14          DATED this 3rd day of February 2022.

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                                                      UNITED STATES MAGISTRATE JUDGE
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